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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

    CHAMBERS OF                                                                           101 WEST LOMBARD STREET
  JAMES K. BREDAR                                                                         BALTIMORE, MARYLAND 21201
U.S. MAGISTRATE JUDGE                                                                           (410) 962-0950
                                                                                              (410) 962-2985 FAX


                                              September 1, 2004




 Francis James Tennies, Esquire                                      Michael J. McManus, Esquire
 InCap Group, Inc.                                                   Mary Kohart, Esquire
 320 North Charles Street                                            Drinker Biddle and Reath, LLP
 Baltimore, Maryland 21201                                           1500 K Street, NW - Suite 1100
                                                                     Washington, DC 20005

 Subject: Incap Service Company v. The Community Reinvestment Act Qualified Investment Fund
           Civil Action No. CCB-04-1592

 Dear Counsel:

         Please be advised that a settlement conference in the above-captioned case has been scheduled
 for Tuesday, October 19, 2004, at 10:00 a.m. to be held in my chambers (Room 8C, United States
 Courthouse, 101 West Lombard Street, Baltimore, Maryland). It is required that the parties, or in the case
 of a corporation or partnership, an officer or other representative with complete authority to enter into a
 binding settlement, be present in person. Attendance by the attorney for a party is not sufficient. See Local
 Rule 607.3. Please also be advised that the conference may take the entire day.

         No later than Tuesday, October 12, 2004, I would like to receive from each party a short letter
 candidly setting forth the following:

          1. Facts you believe you can prove at trial;

          2. The major weaknesses in each side’s case, both factual and legal;

          3. An evaluation of the maximum and minimum damage awards you believe likely;

          4. The history of any settlement negotiations to date; and

          5. Estimate of attorney’s fees and costs of litigation through trial.

         The letters may be submitted ex parte and will be solely for my use in preparing for the settlement
 conference. I also will review the pleadings in the court file. Additionally, if you want me to review any
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case authorities that you believe are critical to your evaluation of the case, please identify. If you want me
to review any exhibits or deposition excerpts, please attach a copy to your letter.1

         The settlement conference process will be confidential and disclosure of confidential dispute
resolution communications is prohibited. See 28 U.S.C. § 652(d).

        Notwithstanding the informal nature of this letter, it is an Order of the Court and the Clerk is
directed to docket it as such.

                                                           Very truly yours,

                                                                   /s/

                                                           James K. Bredar
                                                           United States Magistrate Judge


JKB/cw
cc: The Hon. Catherine C. Blake
    Court file
    Chambers file




        1
          Please note that the American Bar Association Standing Committee on Ethics and
Professional Responsibility has issued a Formal Opinion (No. 93-370) that precludes a lawyer,
ABSENT INFORMED CLIENT CONSENT, from revealing to a judge the limits of the lawyer’s
settlement authority or the lawyer’s advice to the client regarding settlement. The opinion does not
preclude a judge, in seeking to facilitate a settlement, from inquiring into those matters. Therefore,
please discuss these items with your client before appearing for the settlement conference.
